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   B 210A (Form 210A) (12/09)



                             UNITED STATES BANKRUPTCY COURT
                                                      Eastern District of Louisiana


    In re      Valerie J Stewart                                                        ,       Case No.         19-13060


                           TRANSFER OF CLAIM OTHER THAN FOR SECURITY
      A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
      Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
      transfer, other than for security, of the claim referenced in this evidence and notice.

        BSI Financial Services, as servicer for
    HEADLANDS ALTERNATIVE INVESTMENTS                                                        Wilmington Savings Fund Society, FSB, as
                       II, LP                                                               trustee for Stanwich Mortgage Loan Trust B
                      Name of Transferee                                                               Name of Transferor

    Name and Address where notices to transferee
    should be sent:                                                                   Court Claim # (if known):           4-1
                     BSI Financial Services
                  1425 Greenway Drive, Suite 400
                                                                                      Amount of Claim:              $71,513.04
                        Irving, TX 75038                                              Date Claim Filed:             1/21/2020


    Phone:       (814) 827-4661                                                       Phone:       (877) 313-7742
    Last Four Digits of Acct. #:             2900                                     Last Four Digits of Acct. #: 2900

    Name and Address where transferee payments
    should be sent (if different from above):
                    BSI Financial Services
                314 S Franklin Street, PO Box 517
                      Titusville, PA 16354


    Phone:       (814) 827-4661
    Last Four Digits of Acct. #:             2900

   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

    By:        /s/ Aaron Wiseman (Bar No. 39390)                                      Date:        12/19/2022
                  Transferee/Transferee’s Agent
   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
